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AO 91 (Rev. 5/85) Criminal Complaint

United States District Court

SOUTHERN pigtRicT op FLORIDA

UNITED STATES OF AMERICA
V.

RODA ABDUL HASSAN TAHER CRIMINAL COMPLAINT
(aka Fateh Ikram Sakkal) CASE NUMBER: 09-6466-SNOW

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about 10/6/2009 - 11/10/2009 in Broward county, in the

Southern District of Florida defendant(s) did, (Track Statutory Language of Offense)

did knowingly and willfully execute and attempt to execute a scheme and artifice to defraud a financial
institution, to wit: Bank Atlantic, the deposits of which are insured by the Federal Deposit Insurance Corporation,
and to obtain monies, funds, credits, assets, securities, and other property owned by and under the custody and
control of Bank Atlantic, by means of false and fraudulent pretenses, representations, and promises,

in violation of Title 18 United States Code, Section(s) 1344 and 2

| further state that | am a(n) Special Agent, USSS and that this complaint is based on the following
Official Title

facts:

See Attached Affidavit

Continued on the attached sheet and made a part hereof: Yes [| No ,

: ignature o mplainant
GS . Set Kn

Sworn to before me and subscribed in my presence,

11/12/2009 at Ft. Lauderdale, Florida
Date City and State

Hon. Lurana S. Snow, U.S. Magistrate Judge (Bye _d ‘ Knee
Name & Title of Judicial Officer ~ Signature of Judicial Officer

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AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Casey Smith, being duly sworn, do depose and state:

1. I am a Special Agent with the United States Secret Service, (U.S.S.S) and
have been so employed since January 2009. I am currently assigned to the Miami Field
Office and my duties include, among other things, the investigation of bank fraud.

2. The information in this affidavit is based on my personal knowledge and
information obtained from other law enforcement personnel. The information set forth here
is provided solely for the purpose of establishing probable cause in support of the criminal
complaint. Because this affidavit is submitted for the limited purpose of establishing
probable cause, it does not include all details of the investigation of which your affiant is
aware.

3. On or about October 6, 2009, Al Otis Elevator Company was incorporated in
the State of Florida with FAITH ANN SCHMIDT listed as the president and an address of
200 N.W. 59th Avenue, #300, Miami Lakes, Florida.

4. On or about October 7, 2009, FAITH ANN SCHMIDT and RODA ABDUL
HASSAN TAHER (aka: Fateh Ikram Sakkal) opened a business checking account under the
name “Al Otis Elevator Company” at a Bank Atlantic branch located at 6100 Glades Road,
Boca Raton, Palm Beach County, Florida and was assigned an account number ending in
1215. At the time the account was opened, they provided bank representatives the address of

200 N.W. 56th Avenue #300, Miami, Florida.
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5. SCHMIDT, in the presence of TAHER, opened the business checking account
using a starter personal check (#098) in the amount of $100 drawn on a Sun Trust bank
account ending in 4266. In the memo field of the personal check, SCHMIDT wrote the
number 271065885 which corresponds with the tax ID #XX-XXXXXXX listed on the Bank
Atlantic business account signature card. Check #098 was later be returned for insufficient
funds and Sun Trust bank later confirmed that its account ending in 4266 had been opened
fraudulently on or about September 14, 2009.

6. On or about October 7, 2009 SCHMIDT entered the Bank Atlantic branch
located at 1299 South Military Trail, Deerfield Branch, Broward County, Florida and
deposited check number 66720 in the amount of $109,859.40, drawn on the account of Moss
and Associates through Northern Trust Bank, into defendant SCHMIDT’S business checking
account of “Al Otis Elevator Company” ending in 1215. The check was payable to “Otis
Elevator Company,” 16200 N.W. 59h Avenue, Suite 109, Miami Lakes, Florida.

7. On or about October 16, 2009 SCHMIDT and TAHER (aka: Sakkal) entered
the Bank Atlantic branch located at 6100 Glades Road, Boca Raton, Florida where
SCHMIDT signed two requests for wire transfers from her business account, named “A] Otis
Elevator Company, Inc.,” ending in 1215. One wire transfer was in the amount of $50,000
and bound for Shangai, China, and the other wire transfer was in the amount of $17,600
bound for Dubai, United Arab Emirates. These wire transfers totaled $67,600.00

8. On or about October 16, 2009, “Otis Elevator Company” advised Bank
Atlantic that “Otis Elevator Company” had been expecting a check in the amount of
$109,859.40 from their vendor, Moss and Associates and that check number 66720, dated

10/1/09, was intended only for “Otis Elevator” company’s branch office located at 16200
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N.W. 59" Avenue, Suite 300, Miami Lakes, Florida. ‘Otis Elevator’ Company advised
Bank Atlantic that the “Otis Elevator” Company does not have any accounts with “Al” in
front of their name. and confirmed that “Otis Elevator” Company had not received the check.

9, On or about October 16, 2009, Bank Atlantic’s Loss Prevention Department
learned that the check in the amount of $109,859.40 which was deposited into the “Al Otis
Elevator Company” account ending in 1215 had been stolen and thereafter fraudulently
deposited.

10. On or about November 2, 2009, SCHMIDT and TAHER (aka: Sakkal)
entered the Bank Atlantic branch located at 1600 South Federal Highway, Pompano Beach,
Broward County, Florida. SCHMIDT requested an account statement of the “Al Otis
Elevator” Company, Inc. account ending in 1215 and made a deposit of $90.00 after learning
that the account had become overdrawn.

11. On or about November 2, 2009 Bank Atlantic Manager Kim Smith,
suspecting SCHMIDT was in possession of stolen funds in excess of $100,000, contacted the
Broward County Sheriffs Office. At that time, TAHER (aka: Sakkal) fled the Bank Atlantic
branch location upon the arrival of law enforcement.

12. Thereafter, on Tuesday, November 10, 2009, your Affiant along with United
States Postal Inspector Bryan Masmela located and interviewed RODA ABDUL HASSAN
TAHER. TAHER told me that he and SCHMIDT had obtained the stolen “Otis Elevator”
Company check (#66720) in the amount of $109,859.40 and had instructed SCHMIDT on
how to incorporate the “Al Otis Elevator” business in the State of Florida. Moreover, he
admitted that he and SCHMIDT had opened the Bank Atlantic business checking account

ending in 1215 under the name of “Al Otis Elevator” Company, Inc. and had provided Bank
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Atlantic with the information with which to open the business checking account. TAHER
continued, and stated that SCHMIDT had deposited check number 66720 in the amount of
$109,859.40, drawn on the account of Moss and Associates with Northern Trust Bank, into
the “Al Otis Elevator” Company, Inc. account ending in 1215 and that he and SCHMIDT had
entered the Glades Road branch of Bank Atlantic on October 16" wherein SCHMIDT signed
two requests for wire transfers from the “Al Otis Elevator” Company, Inc. account ending in
1215, in an attempt to wire transfer $50,000 to Shangai, China and $17,600 to Dubai, United
Arab Emirates. Finally, he admitted that he and SCHMIDT had entered the Pompano Beach
branch of Bank Atlantic on or about November 2, 2009 because SCHMIDT needed to settle
an overdrawn account. TAHER told your Affiant that when he saw the police arrive at the
bank, he fled the bank because he knew that he and SCHMIDT had deposited a stolen check
and knew that he would be in trouble. During the interview, TAHER told Postal Inspector
Bryan Masmela that his true identity was RODA ABDUL HASSAN TAHER, not FATEH
IKRAM SAKKAL as previously thought, and that SAKKAL was actually his cousin.
TAHER stated that he obtained a Florida Driver’s License under the name of FATEH
IKRAM SAKKAL by using his cousin’s (SAKKAL’s) identification. Your Affiant has
learned that TAHER has obtained additional bank accounts using the alias name of FATEH
IKRAM SAKKAL.

13. Based on the information stated above, your Affiant submits that there is
probable cause to believe that FAITH ANN SCHMIDT and RODA ABDUL HASSAN
TAHER (aka: Fatel Ikram Sakkal) did knowingly execute a scheme to defraud a financial

institution in order to obtain moneys, funds, credits, assets, securities or other property under
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the custody or control of Bank Atlantic by means of false and fraudulent pretenses, in
violation of Title 18, United States Code, Section 1344 and 2.

14... FAITH SCHMIDT was previously charged and arrested via a Criminal
Complaint issued by the Honorable Barry S. Seltzer, under case number 09-6426-Seltzer,
issued on November 3, 2009.

15. Bank Atlantic is a financial institution whose accounts are insured by the

Federal Deposit Insurance Corporation.

FURTHER YOUR AFFIANT SAYETH NOT

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United States Secret Service

Sworn to and subscribed before
me this 12™ day of November, 2009

Berean A dip

HON. LURANA S. SNOW
UNITED STATES MAGISTRATE JUDGE

